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                           DX-0143
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                           DX-0240
                           DX-0241
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                          DX-0259A
                           DX-0260
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                           DX-0310
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                           DX-0381
                           DX-0384
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                           DX-0464
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                           DX-0500
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                           DX-0956
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                           DX-0998
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                           DX-1000
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                          DX-1094
                          DX-2001
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                          PX0001-b
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                           PX0020
                           PX0022
                          PX0024-a
                           PX0030
                           PX0033
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                           PX0036
                           PX0039
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                           PX0105
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                          PX0374A
                           PX0375
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                            PX0680
                            PX0683
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                            PX0692
                            PX0699
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                            PX0786
                            PX0788
                            PX0789
                            PX0791
                            PX0792
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                            PX0828
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                            PX0834
                            PX0841
                            PX0844
                           PX0844A
                            PX0845
                            PX0846
                            PX0854
                            PX0856
                            PX0858
                            PX0862
                            PX0863
                            PX0868
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                            PX0895
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                            PX1125
                            PX1128
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